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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF NEW JERSEY


     IN RE: JOHNSON & JOHNSON                   Civil Action No. 3:16-md-2738-
     TALCUM POWDER PRODUCTS                     FLW-LHG
     MARKETING, SALES
     PRACTICES, AND PRODUCTS                    MDL No. 2738
     LIABILITY LITIGATION


     This Document Relates to All Cases



             PLAINTIFFS’ MOTION FOR LEAVE TO AMEND
     PLAINTIFFS’ FIRST AMENDED MASTER LONG FORM COMPLAINT


          PLEASE TAKE NOTICE that, at 9:00 a.m. on January 19, 2021, or at

    such other time as set by the Court, Plaintiffs, by and through the Plaintiffs’

    Steering Committee (PSC), will move for leave to amend the First Amended

    Master Long Form Complaint.

          As fully discussed in Plaintiffs’ Memorandum of Law in Support of this

    Motion, attached as Exhibit A, Plaintiffs have discovered additional evidence in

    the course of this litigation since the filing of the First Amended Master Long

    Form Complaint and seek to amend the First Amended Master Long Form

    Complaint to reflect this additional information. A copy of the proposed Second

    Amended Master Long Form Complaint is attached as Exhibit B. Further, a
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    redline version of the proposed Second Amended Master Long Form Complaint

    indicating the differences between the First Amended and Second Amended

    Master Long Form Complaint is attached as Exhibit C.

               Plaintiffs conferred with counsel for Defendants, and counsel for Defendants

    do not object to the filing of this motion.1

               For these reasons, Plaintiffs respectfully request that the Court grant leave to

    amend Plaintiffs’ First Amended Master Long Form Complaint. A proposed order

    is attached for the Court’s consideration.

    Dated:             December 22, 2020                 Respectfully submitted,

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        See Status Report and Proposed Joint Agenda for November 17, 2020 Status Conference at 2.

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